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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                       Plaintiff,


v.
                                                        No:    05-CR- 1849 (JH)


DANA JARVIS,

                       Defendant.

                                    SEALED DOCUMENT

          DEFENDANT DANA JARVIS’ MOTION TO QUASH SUBPOENA OF
                       ROBERT J. GORENCE, ESQ.

       Defendant, Dana Jarvis, through counsel of record Joe M. Romero, Jr. and Jody Neal-Post,

hereby moves this Court to quash the subpoena served by the United States on Robert J. Gorence,

Esq., who was Mr. Jarvis’ former counsel in this same case, 1 under Rule 17 of the Rules of Criminal

Procedure, and the rights of Due Process, and the Sixth Amendment right to counsel, to counsel of

choice, and to have an unadulterated attorney-client relationship. As grounds, counsel states:

                                                   I.

                   Mr. Gorence Was Mr. Jarvis’ Former Counsel in this Case
       Filed herewith is a privilege log, Exh. A, attached, as per Tenth Circuit law. 2 This log details


1
  This document is filed under seal because it has appended to it the privilege log supporting Mr.
Jarvis claims of an attorney-client relationship with Mr. Gorence. Furthermore, sealing is necessary
as this brief contains references FBI Investigative Reports released only to Mr. Jarvis discussing Mr.
Gorence as Defendant Jarvis’ “attorney” and the US Marshall’s surveillance of Mr. Gorence in the
federal court hearing underlying Mr. Jarvis’ Gonzalez-Lopez claim herein, on January 19, 2006. Ex. C,
Bates Nos. 8.125, 8.126, 8.167 & 8.168.
2
  See, e.g., Phalp v. City of Overland Park, 2002 U.S. Dist. LEXIS 9684, May 8, 2002(attorney’s motion
to quash a subpoena requesting documents related to his representation of former clients requires
attorney to provide a list of the disputed materials and the specific reasons for the privilege claims).

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the evidence obtained by counsel that is information exchanged between Mr. Gorence and Mr.

Jarvis in late 2005 and early 2006 relevant to this criminal case, in a way that does not disclose the

content of the communications. The log demonstrates the evidentiary basis of Mr. Jarvis’ assertion

of an attorney-client relationship with Mr. Gorence. Among other things, the log describes an FBI

agent’s reports on surveillance of Mr. Gorence, because he was Mr. Jarvis’ counsel. It also describes a

ten page document by Mr. Jarvis on notebook paper, addressing strategy with regard to the

government wiretap evidence, given to Mr. Gorence. It describes a hand-written list of names

culled from the indictment and discovery about which Mr. Jarvis made indication as to whether or

not he recognized the names. The log describes work product of writing counsel for Mr. Jarvis’ CJA

counsel before and after Mr. Gorence represented Mr. Jarvis, concerning the ends of the

representation that Mr. Gorence had undertaken.

        Completely independent of the privilege log, this Court has before it the record in this case,

which includes the record of Mr. Gorence filing a motion on behalf of Mr. Jarvis and arguing Mr.

Jarvis’ wishes to have assets freed to hire counsel of choice. Whether or not the legal ethics expert

opinion of Professor Rodney Uphoff, Esq., is considered, the privilege log demonstrates Mr. Jarvis

expressed confidences to Mr. Gorence, and had the kind of relationship with Mr. Gorence that Mr.

Gorence is legally and ethically required to protect, regardless of whether he was formally hired, ever

paid or entered an appearance. “The purpose behind the attorney-client privilege is to preserve

confidential communications between attorney and client.” In re Grand Jury Subpoenas (United States v.

Anderson), 906 F.2d 1485, 1492 (10th Cir. 1990). Any privilege resulting between a client and an
attorney belongs to the client. See United States v. International Bhd. of Teamsters, 119 F.3d 210, 215 (2nd

Cir. 1997); Hunter v. Kenney, 77 N.M. 336, 339 (1967).         The fact of a confidential attorney-client

relationship renders a subpoena unreasonable and oppressive under Rule 17. See generally United

States v. Bergeson, 425 F.3d 1221 (9th Cir. 2005).




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                                                      II.

    The Government Cannot Subpoena Mr. Gorence Because It Irrevocably Damages the
                      Sanctity of Attorney-Client Relationships

        The Department of Justice recognizes that subpoenas directed at criminal defendants’

counsels are damaging to the integrity of our system of justice. The United States Attorneys Manual

has dedicated an entire section to the pitfalls involved when such a subpoena is contemplated

Section 9-13.410 is entitled “Guidelines for Issuing Grand Jury or Trial Subpoena to Attorneys for

Information Relating to the Representation of Clients.” The section provides: “Because of the

potential effects upon an attorney-client relationship that may result from the issuance of a

subpoena to an attorney for information relating to the attorney’s representation of a client, the

Department exercises close control over such subpoenas.” United States Attorney Manual 2000, §

9-13.410(1). “All such subpoenas (for both criminal and civil matters) must first be authorized by

the Assistant Attorney General for the Criminal Division before they may issue.” Id.

        The United States Attorneys Manual gives very specific direction to an AUSA considering a

defense counsel subpoena, including clearance of such a subpoena with Washington, as per above.

In a sub-section entitled “Preliminary Steps,” the Manual instructs AUSAs that “When determining

whether to issue a subpoena to an attorney for information relating to the attorney’s representation

of a client, the Assistant United States Attorney must strike a balance between an individual’s right

to the effective assistance of counsel and the public’s interest in the fair administration of justice and

effective law enforcement.”       The instructions require that an AUSA make every attempt to obtain the

needed information some other way: “To that end, all reasonable attempts shall be made to obtain the information

from alternative sources before issuing the subpoena to the attorney, unless such efforts would compromise the

investigation or case.” Id. (emphasis added). There is no meaningful distinction between a defense

attorney’s past and current clients for this section.

        The Manual instructs AUSAs to seek in writing the authorization of the Attorney General in

Washington, and that the AUSA must send a completed draft of the subpoena to Washington for

prior approval.      § 9-13.410(4). Approval of DOJ Main in Washington for a defense counsel


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subpoena is based on the following factors:
                3. Evaluation of the Request. In considering a request to approve the
               issuance of a subpoena to an attorney for information relating to the
               representation of a client, the Assistant Attorney General of the
               Criminal Division applies the following principles:
                     * The information sought shall not be protected by a valid
               claim of privilege.
                     * All reasonable attempts to obtain the information from
               alternative sources shall have proved to be unsuccessful.
                     * In a criminal investigation or prosecution, there must be
               reasonable grounds to believe that a crime has been or is being
               committed, and that the information sought is reasonably
               needed for the successful completion of the investigation or
               prosecution. The subpoena must not be used to obtain
               peripheral or speculative information.
                      * In a civil case, there must be reasonable grounds to believe
               that the information sought is reasonably necessary to the successful
               completion of the litigation.
                      * The need for the information must outweigh the
               potential adverse effects upon the attorney-client relationship.
               In particular, the need for the information must outweigh the risk
               that the attorney may be disqualified from representation of the client
               as a result of having to testify against the client.
                     * The subpoena shall be narrowly drawn and directed at
               material information regarding a limited subject matter and shall
               cover a reasonable, limited period of time.
                   See also the Criminal Resource Manual at 263.

United States Attorney Manual 2000, § 9-13.410(3). Because it appears that the United States

Attorney did not follow this procedure in this case 3 , Mr. Jarvis respectfully submits that this Court
may choose to employ these factors to determine whether the subpoena should be quashed. 4
3
  As detailed in the Reply to the Motion to Dismiss, when counsel for Mr. Jarvis approached AUSA
Braun to remind him that Gorence held client confidences from Mr. Jarvis in this case, Mr. Braun
responded by letter that this was no concern, and it was his practice to leave it to Mr. Gorence to
determine what he could and could not say.
4
  As with the rest of the United States Attorney Manual, this section contains the disclaimer, “ 5. No
Rights Created by Guidelines: These guidelines are set forth solely for the purpose of internal
Department of Justice guidance. They are not intended to, do not, and may not be relied upon to
create any rights, substantive or procedural; enforceable at law by any party in any matter, civil or
criminal, nor do they place any limitations on otherwise lawful investigative or litigative prerogatives
of the Department of Justice.” § 9-13.410(5).

                                                   4
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        Applying the United States Attorney’s own “principles,” the subpoena to Mr. Gorence

should be quashed. Any information Mr. Gorence could provide is not “reasonably needed for the

successful completion of the investigation or prosecution.” Id.

        The Manual also directs that “The subpoena must not be used to obtain peripheral or

speculative information.” Yet, counsel has learned, the government intends to call Mr. Gorence in

this proceeding to testify to what Mr. Gorence thought about the nature of his relationship with Mr.

Jarvis, and whether he really planned to represent Jarvis, this when the existing evidence shows in

Mr. Gorence’s own filings and statements in court, that should the assets be released, he would enter

his appearance. See Limited Entry of Appearance, appended as Ex. A to Doc 1095. Mr. Gorence is also

expected to be asked by the United States whether, in hindsight, it appears the assets were sufficient

to provide enough money to retain Mr. Gorence’s firm. These facts, however they might come out,

are all of a peripheral and speculative nature, and not legally relevant to the two legal issues that are

to be decided by this court.

        Mr. Gorence’s proffered testimony is not relevant to the threshold question of whether Mr.

Jarvis and Mr. Gorence exchanged confidences, as is most often the case when attorneys meet

potential clients. The United States admitted in its Rule 44c Motion as to understanding the

forfeiture or assets issues herein, “it is simply not possible to neatly separate the issue of guilt from

the issue of forfeiture in this case. Because this case involves criminal forfeiture, Mr. McIntyre

[Gorence] cannot effectively represent Jarvis on the forfeiture allegation without having a clear

understanding of Jarvis’ culpability for the underlying crimes and at least some involvement in

formulating Jarvis’ defense to those charges.” Doc. 226 at 5. Similarly, no attorney can argue for

release of assets for payment for fees without determining whether the source of payment is from an

allegedly clean or tainted source, i.e., whether the property has a nexus to the criminal charges, or is

“clean” to be used for legal fees. See e.g. Caplin & Drysdale v. United States, 491 U.S. 617, 628

(1989)(“forfeiture is a substantive charge in the indictment against a defendant.”).

        If Mr. Gorence asserts he didn’t make these inquiries, as his Motion asserted he did not

discuss the indictment, potential defenses, nor investigative strategy,” then he would merely be
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substituting violation of one ethical and legal norm for another. See. Doc. 1098, ¶ 5; contra Privilege Log,

attch as Ex. A. As Justice Blackmun opined in his dissent in Caplin regarding counsel not sourcing

assets and the conflicts likely to result when assets for payment of fees may be subject to forfeiture:

                Perhaps the attorney will be willing to violate ethical norms by
                working on a contingent fee basis in a criminal case. See Caplin &
                Drysdale, ante, at 633, n. 10. But if he is not -- and we should question
                the integrity of any criminal-defense attorney who would violate the
                ethical norms of the profession by doing so -- the attorney’s own
                interests will dictate that he remain ignorant of the source of the
                assets from which he is paid.

                Under § 853(c), a third-party transferee [retained counsel] may keep
                assets if ‘the transferee establishes . . . that he is a bona fide purchaser
                for value of such property who at the time of purchase was
                reasonably without cause to believe that the property was subject to
                forfeiture under this section.’ The less an attorney knows, the greater
                the likelihood that he can claim to have been an ‘innocent’ third
                party. The attorney’s interest in knowing nothing is directly adverse
                to his client’s interest in full disclosure. The result of the conflict may
                be a less vigorous investigation of the defendant’s circumstances,
                leading in turn to a failure to recognize or pursue avenues of inquiry
                necessary to the defense. Other conflicts of interest are also likely to
                develop. The attorney who fears for his fee will be tempted to make
                the Government’s waiver of fee forfeiture the sine qua non for any plea
                agreement, a position which conflicts with his client’s best interests.

Caplin & Drysdale v. United States, 491 U.S. 617, 649 (1989).

        The United States, for its part, is estopped from arguing that what is said 2 years ago

regarding the inability of defense counsel to separate discussion of the criminal forfeitability of assets

from criminal culpability, was somehow magically accomplished less than three months later by Mr.

Gorence. The United States was correct in its Rule 44c motion two years ago showing it fully

understands confidences were necessarily passed by Mr. Jarvis to Mr. Gorence.

        Further, Mr. Gorence’s testimony is not relevant to the question of the denial of counsel of

choice under the Sixth Amendment. The entire factual basis this Court needs to make the legal

determination of that issue is available without Mr. Gorence’s testimony, in the form of the record

of this case made on paper and in open court. Whether in hindsight it appears that there was not


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sufficient value to the assets to retain Mr. Gorence’s firm, or because Mr. Gorence may have

otherwise decided not to take the case, despite his representations in court, is all speculation at this

point.       It is simply speculative and legally irrelevant.      What is certain regarding the Sixth

Amendment claim is the actual conflict that exists now, as Mr. Gorence could not ethically take on

Mr. Jarvis’ representation now, having subsequently opted to take Mr. Wilson’s retainer, and that is

the extent of the facts that are relevant to the matter.

          DOJ Main would make the decision to let the AUSA issue a subpoena to a defendant’s

attorney only if issuing such a subpoena would not interfere with the attorney-client relationship: “The need

for the information must outweigh the potential adverse effects upon the attorney-client

relationship.” The Manual goes on: “In particular, the need for the information must outweigh the

risk that the attorney may be disqualified from representation of the client as a result of having to

testify against the client.”

          The Manual states clearly: “The Department’s policy applies whenever a subpoena will issue

for information relating to representation of a client. Accordingly, authorization must be obtained

even for the ‘friendly subpoena’ where the attorney witness is willing to provide the information, but

requests the formality of a subpoena.” United States Attorney Manual 2000, § 263.              The Manual

provides a form, Section 264 of the United States Attorney Manual, for AUSAs to use when seeking

written authorization from Washington to issue a subpoena to a defendant’s counsel. United States

Attorney Manual 2000, § 264.

          Under the United States’ own standards, both in its own Manual and through its Rule 44

pleading, its own arguments as to Mr. Gorence do not support the subpoena it has served. As

oppressive and unreasonable, it must be quashed.


                                                    III.

The Subpoena Must Be Quashed Under Rule 17 Because Mr. Gorence’s Testimony Adverse
  to Mr. Jarvis’ Motion to Dismiss Will Irrevocably Damage The Former Attorney-Client
                                       Relationship

          Federal Rule of Criminal Procedure 17(c)(2) states:

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                Quashing or Modifying a Subpoena. On motion made promptly, the
                court may quash or modify the subpoena if compliance would be
                unreasonable or oppressive.

        Compliance with this subpoena is both oppressive and unreasonable, and the additional

curiosity here is that Mr. Gorence has not sought to quash it to protect his former client, despite the

attorney’s duty, “upon any attempt to require him to testify or produce documents within the

confidence, to make assertion of the [attorney-client] privilege, not merely for the benefit of the

client, but also as a matter of professional responsibility.” Hunter v. Kenney, 77 N.M. 336, 339 (1967)

In United States v. Bergeson, 425 F.3d 1221 (9th Cir. 2005), the Ninth Circuit held that the trial court
should quash a subpoena directed at a criminal defendant’s former counsel, even thought the factual

matter the government sought was not strictly covered by the attorney-client privilege, because to

compel a counsel to testify against a criminal defendant would destroy the attorney-client

relationship, and chill the critical free-flow of information between attorneys and their clients in

criminal cases, if defendants believed that their attorneys could later be compelled to take the stand

against them.

        “[I]ssuing a subpoena to a lawyer to testify against a client is an unusual step that always

raises serious concerns, even absent any privilege.” Bergeson, 425 F.3d at 1224-25. Even though the

attorney in Bergeson conceded that the information the government sought was not privileged (it had

to do with the fact of communication of a trial date, not the content of any confidences), the Ninth

Circuit agreed that enforcing the subpoena would be “unreasonable or oppressive” because of the

wedge it would drive between counsel and her former client. “The government is not automatically

entitled to subpoena a lawyer to testify against his client merely because the Constitution does not

prohibit it and the material is not privileged.” Id. at 1225-26.

        The United States fails to appreciate this point, that even unprivileged information as far as

the Rules of Evidence regard privileges, is still entitled to protection by this Court. In Bergeson, the

AUSA had followed United States Attorney Guidelines and obtained approval for the subpoena. Id.

at 1223. The court cited to United States v. Perry, 722 F.2d 591 (9th Cir. 1983), where “[w]e took note


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of the Justice Department’s policy against such subpoenas that the district court considered in the

case at bar, requiring high-level approval for a subpoena of attorneys to testify against their clients

and requiring prosecutors to show that the need for the information outweighs the risk that the

attorney will be disqualified.” Id. at 1225.

        “A client’s confidence in his lawyer, and continuity of the attorney-client relationship, are

critical to our system of justice.” Id. at 1226. The Bergeson court held that the Justice Department

restraints on issuing subpoenas to lawyers (discussed infra) were helpful to its legal decision to quash

the subpoena: “Though these Justice Department directives are directions by an employer to its

employees and not law, they demonstrate the recognition that the government has given to this

fundamental interest. Issuing subpoenas to lawyers to compel them to testify against their clients

invites all sorts of abuse.” Id., citing United States v. Perry, 857 F.2d 1346, 1347-48 (9th Cir. 1988).

        Support for the continuing protection of even unprivileged per se materials exists in the

Tenth Circuit. In Gonzalez, our circuit found it so important for attorneys and their criminal clients

to be assured of the confidentiality of their communications that even after a criminal case is over it

is improper to release detailed billing records (CJA 20 worksheets and supporting documentation) to

the public. United States v. Gonzalez, 150 F.3d 1246 (10th Cir. 1998). Even though the documentation

and billing records were not per se covered by the privilege, they did reflect the internal workings of

the attorney-client relationship, and thus, the Court of Appeals held, it would be chilling to all
attorney-client relationships if they were disclosed to the public. Id. If this Court allows Mr.

Gorence’s testimony pursuant to this subpoena, the practical reality is that the news of his doing

will travel like wildfire through the inmate population of the State of New Mexico, effectuating an

immediate chill in state wide attorney client trustworthiness in the confidentiality of a defendant’s

communications with his counsel.

        “Without an assurance that the information revealed at CJA hearings and in documents

submitted to the court will not be disclosed, a defendant and his or her counsel would be

discouraged from fully disclosing the information to the court.” Id. at 1259 , citing State v. Ballard,

333 N.C. 515, 428 S.E.2d 178, 183 (N.C. 1993)”); also United States v. Huckaby, 43 F.3d 135, 138 (5th
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Cir. 1995) The Tenth Circuit held that, after litigation was over, all that could properly be disclosed

to the media asserting a first amendment right was the cover form, containing mere totals in

categories, none of the worksheets or supporting documentation. Id. Certainly Mr. Gorence is not

able to disclose more here.


                                                  IV.

 Mr. Gorence Cannot Testify In This Matter Because An Attorney Should Not Be Called As
 A Witness in the Same Proceedings Wherein He is Both A Prior Attorney for Mr. Jarvis In
                    This Case And the Present Attorney For Mr. Wilson

        The Restatement (Third) of Law Governing Law. § 108 (2000), provides that “A tribunal

should not permit a lawyer to call opposing trial counsel as a witness unless there is a compelling

need for the lawyer’s testimony.” See also NMRA 16-307. The Restatement goes on to provide that

“A lawyer may not represent a client in a litigated matter pending before a tribunal when the lawyer

or a lawyer in the lawyer’s firm will give testimony … materially adverse to a former client of any

such lawyer with respect to a matter substantially related to the earlier representation, unless the

affected client has consented.” Restatement (Third) of Law Governing Law. § 108(3).

        Mr. Gorence cannot become a witness in this case, even without regard to Mr. Gorence’s

attorney-client relationship with Mr. Jarvis, because he currently represents a co-defendant in the

same case, Mr. Wilson. The analysis is “in two dimensions: one in evidence and one in law.”

Cottonwood Estates, Inc. v. Paradise Builders, Inc., 128 Ariz. 99, 624 P.2d 296, 299 (Ariz. 1981). Under

the Rules of Evidence, Mr. Gorence is a competent witness, although he has no relevant evidence to

offer. Rule 403 would prohibit his testimony “because of the dangers and prejudice inherent in the

practice” of allowing attorneys dual roles in proceedings, as “it is generally considered a serious

breach of professional etiquette and detrimental to the orderly administration of justice for an

attorney to take the stand in a case he is trying.” Id. at 299-300.

        Cottonwood Estates is again instructive. Cottonwood addressed whether a trial court abused its
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discretion by disqualifying an attorney in a breach of contract action where he could also be a

witness. Cottonwood, 624 P.2d at 298. The court held that when an attorney is to be called other than on

behalf of his client, the attorney will be disqualified when there is a showing that the attorney will give

evidence material to the determination of the issues being litigated, that the evidence is unobtainable

elsewhere, and the testimony is or may be prejudicial to the testifying attorney’s client. Cottonwood,

624 P.2d at 302 (emphasis added). Applying this standard, the court disqualified the attorney because

his testimony would be prejudicial to his client and because he would testify as to his state of mind

contrary to his client’s interests. Id.

        Here, the United States specifically seeks to use Mr. Gorence’s testimony today as to his

state of mind almost two years ago, in contradiction of an existing record of his statements and

filings in this court twenty-two months ago reflecting his state of mind, and to the detriment of the his

then client, Mr. Jarvis. See also Chappelle v. Cosgrove, 121 N.M. 636, 639 (1996)(demonstrating the same

rule analysis under the New Mexico rules). In Chappelle, the court determined that the attorney’s

testimony was available from other sources, as it is here, and so found it unnecessary to have the

attorney testify. See id at 639.

                 When an attorney persists in acting both as witness and advocate,
                 ordinary procedural safeguards designed to give the parties a full and
                 fair hearing become problematic. For example, the familiar
                 mechanics of question-and-answer interrogation become impossible.
                 The rule excluding witnesses from the courtroom may be invoked,
                 yet the advocate-witness obviously must be allowed to remain. The
                 advocate who testifies places himself in the position of being able to
                 argue his own credibility. This special witness can take the stand,
                 objectively state the facts from personal knowledge, then press home
                 those facts by argument to the jury. Our belief is that an adversary
                 system works best when the roles of the judge, of the attorneys, and
                 of the witnesses are clearly defined. Any mixing of those roles
                 inevitably diminishes the effectiveness of the entire system. The
                 practice not only raises the appearance of impropriety, but also
                 disrupts the normal balance of judicial machinery.

Cottonwood, 624 P.2d at 300 internal citations omitted).

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        That the judicial machinery here is disrupted is obvious. “Sitting at counsel table constitutes

sufficient participation” in the proceedings to find it more prejudicial than probative to call an

attorney as a fact witness unless “all other sources of possible testimony have been exhausted.”

United States v. Torres, 503 F.2d 1120, 1126, (2nd Cir. 1974). Here, Mr. Gorence sat at two counsel

tables. The United States’ calling of Mr. Gorence to testify concerning Mr. Jarvis, in Mr. Jarvis’

capacity as Mr. Gorence’s client’s co-defendant, aside from his status as former client, is simply too

procedurally convoluted. In Torres, the Court warned the United States to “determine whether it

wished to take the risk of infecting the record with error.” Id. at 1126. In Torres, the United States

assumed the risk and caused reversible error. Id. at 1127.

                                            Conclusion

       The United States continues to operate recklessly in regard to Mr. Jarvis’ Sixth Amendment

rights to counsel, now having gone so far as to subpoena Mr. Jarvis’ former counsel as a witness

against him. The United States has never made any showing based in law as to how this is

legitimate, citing not one single case in its own support; the United States has made no showing of

materiality, no showing of a compelling need for evidence otherwise unavailable, no showing of

cognizance of the government’s actions on the overall integrity of these criminal proceedings.

       The existing paper record is sufficient to inform this Court as to whether Mr. Gorence was

intending to enter his formal appearance but for the denial of his Motion to Release Assets on

January 19, 2006. Likewise, the record amply evidences the actual conflict of interests existing now

between Mr. Gorence and Mr. Jarvis. There is no relevant testimony justifying the extraordinary

measure of allowing Mr. Jarvis’ former counsel to testify adversely to him. There is, furthermore,

nothing extraordinary enough to allow Mr. Wilson’s counsel to testify in this proceeding against Mr.

Wilson’s co-defendant wherein this Court has no record of Mr. Wilson’s informed consent as to

what is contemplated and its potential for leaving Mr. Wilson without representation. The

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complications of even just possibly conflicted representations are evident from this now voluminous

record devoted to Mr. Gorence’s multiple roles in this case. The situation need not be unnecessarily

and further complicated by allowing Mr. Gorence to testify.

       WHEREFORE, Defendant Jarvis moves this Court for an Order of Quashing the subpoena

served on counsel Robert Gorence to secure his testimony against Mr. Jarvis.


                                                     Respectfully submitted:

                                                             Electronically filed 11/19/07
                                                         By: ____________________
                                                             Joe M. Romero, Jr.
                                                             Attorney for Defendant Jarvis
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                                                               Electronically filed 11/19/07
                                                         By: ____________________
                                                              Jody Neal-Post
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I hereby certify that a true and correct copy of the
foregoing was served on opposing counsel, AUSAs
James Braun and Stephen Kotz, on November 19, 2007.

Electronically filed 11/19/07
____________________________
Joe M. Romero, Jr.




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